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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                     )               CASE NO. 1:06cr00151-002
                                              )
       Plaintiff,                             )               JUDGE: JAMES S. GWIN
                                              )
vs.                                           )               ORDER
                                              )
MICHAEL LARICHE,                              )
                                              )
       Defendant.                             )



       This matter was heard on January 3, 2013, upon the request of the United States Pretrial

and Probation Office for a finding that defendant violated the conditions of his supervised

release.. The defendant was present and represented by Attorney Carolyn Kuchraski.

       The violation report was referred to Magistrate Judge Kenneth S. McHargh who issued a

Report and Recommendation on December 7, 2012. The Court, noting that neither plaintiff nor

defendant filed objections, adopted the Report and Recommendation and found that the

following terms of supervision had been violated:

               1) unauthorized use of controlled substance;

               2) unauthorized use of alcohol;

               3) failure to report as instructed by supervising officer.

       The Court found the violations to be Grade C and defendant’s Criminal History to be a V

with a recommended guideline range sentence of 7 to 13 months.

       Th defendant is committed to the Bureau of Prisons for a period of 7 months with credit
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for time served. Additionally the Court recommends intensive drug treatment during

incarceration. Upon release from incarceration defendant shall serve 1 additional year of

supervised release under the conditions earlier imposed.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.



Dated: January 6, 2013                              s/ James S. Gwin
                                                    JAMES S. GWIN
                                                    UNITED STATES DISTRICT JUDGE
